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                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                     )
                                             )
      v.                                     )       CRIMINAL NO. 21-MJ- 483(RMM)
                                             )
                                             )
SANDRA S. WEYER, DEFENDANT.                  )

DECLARATION OF FRANK C. SLUZIS IN SUPPORT OF MOTION FOR ADMISSION OF ATTORNEY
                                  PRO HAC VICE

      I, Frank C. Sluzis hereby declare;

      1.       My name, office address, and telephone number are as follows:

               Frank C. Sluzis, Esquire, Scaringi Law, 2000 Linglestown Road, Suite 106,

               Harrisburg, PA 17110

               (717) 657-7770


      2.       I have been admitted to the following courts and bars:

               Pennsylvania Supreme Court; and

               United States District Court for the Middle District of Pennsylvania; and

               United States District Court for the Eastern District of Pennsylvania, Bar # 43829 as

           to all.


      3.       I am currently in good standing with all states, courts, and bars in which I am

               admitted. I have never been subject to discipline, nor have been disciplined by

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        any bar to which I am admitted or otherwise.


4.      I have not been previously admitted pro hac vice in this Court, in the last two

     years, or otherwise.


5.      I do not have an office located within the District of Columbia.



     I declare under penalty of perjury that the foregoing is true and correct.

      ____/s/ Frank C. Sluzis___________
      Frank C. Sluzis, Esquire




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